     Case 2:23-cr-00599-MCS Document 21-1 Filed 02/08/24 Page 1 of 8 Page ID #:149



 1 Abbe David Lowell (admitted PHV)
   AbbeLowellPublicOutreach@winston.com
 2 WINSTON & STRAWN LLP
   1901 L Street NW
 3 Washington, DC 20036
   Tel.: (202) 282-5000
 4 Fax: (202) 282-5100

 5
   Angela Machala (SBN: 224496)
 6 AMachala@winston.com
   WINSTON & STRAWN LLP
 7 333 S. Grand Avenue
   Los Angeles, CA 90071
 8 Tel: (213) 615-1700
   Fax: (213) 615-1750
 9
     Counsel for Defendant
10   Robert Hunter Biden
11
                             UNITED STATES DISTRICT COURT
12
                         CENTRAL DISTRICT OF CALIFORNIA
13

14   UNITED STATES OF AMERICA,                 Case No. 2:23-CR-00599-MCS
15                    Plaintiff,               DECLARATION OF ABBE DAVID
                                               LOWELL IN SUPPORT OF
16         vs.                                 DEFENDANT’S EX PARTE
                                               APPLICATION FOR AN ORDER TO
17   ROBERT HUNTER BIDEN,                      MODIFY PRETRIAL MOTIONS
                                               DEADLINE
18                    Defendant.
                                               [Filed concurrently with Defendant’s Ex
19                                             Parte Application for an Order to Modify
                                               Pretrial Motions Deadlines; and
20
                                               [Proposed] Order]
21

22

23

24

25

26

27

28
                       DECLARATION OF ABBE DAVID LOWELL IN SUPPORT OF DEFENDANT’S EX PARTE
                                           APPLICATION TO MODIFY PRETRIAL MOTIONS DEADLINE
                                                                Case No. 2:23-CR-00599-MCS
     Case 2:23-cr-00599-MCS Document 21-1 Filed 02/08/24 Page 2 of 8 Page ID #:150



 1                     DECLARATION OF ABBE DAVID LOWELL
 2         I, Abbe David Lowell, declare as follows:
 3         1.    I am a partner at Winston & Strawn LLP, and counsel for Defendant Robert
 4 Hunter Biden in the above-captioned action. If called as a witness, I could and would
 5 competently testify under oath to the following facts of which I have personal knowledge.
 6 This declaration is offered in support of Defendant’s Ex Parte Application for an Order
 7 to Modify Pretrial Motions Deadline (the “Application”) in compliance with Local Rule
 8 7-19.1 and the procedures of this Court.
 9         2.    I am a member in good standing of the Bars of the District of Columbia, the
10 state of Maryland, and the state of New York. I was admitted pro hac vice in this Court
11 on January 2, 2024.
12         3.    I reached out to counsel for the government (the “prosecution”) on February
13 1, 2024 at 9:30 AM EST, to request a meet and confer regarding the current schedule and
14 filing of motions in this matter. Having not heard back, I reached out again on February
15 7, 2024 at 10:00 AM EST and arranged a call that afternoon to discuss the same issues.
16 During this call, I advised the prosecution of the instant request and Application, and the
17 prosecution indicated that they would inform us of their position before 3:00 PM EST on
18 February 8, 2024.
19         4.    On February 8, 2024, at 12:00 PM EST, Mr. Hines advised me via e-mail
20 that the prosecution opposes Mr. Biden’s requests contained in this Application.
21         5.    Following that call, I provided notice of our intent to file the instant Ex Parte
22 Application to the prosecution by e-mail at 1:00 PM EST on February 8, 2024.
23         6.    On February 8, 2024, at 3:00 PM EST, I caused Defendants’ Ex Parte
24 Application, this Declaration, and the Proposed Order to be e-mailed to the prosecution.
25 As of the time of this filing, the prosecution has not yet responded whether it opposes the
26 Application. Attached hereto as Exhibit A is a true and correct copy of the e-mail to the
27 prosecution, dated February 8, 2024, providing notice of this Ex Parte Application.
28         7.    The relief requested is necessary to preserve Mr. Biden’s ability to defend
                        DECLARATION OF ABBE DAVID LOWELL IN SUPPORT OF DEFENDANT’S EX PARTE
                                            APPLICATION TO MODIFY PRETRIAL MOTIONS DEADLINE
                                                1                Case No. 2:23-CR-00599-MCS
     Case 2:23-cr-00599-MCS Document 21-1 Filed 02/08/24 Page 3 of 8 Page ID #:151



 1 himself effectively without suffering prejudice in this matter, will serve the goal of
 2 preserving judicial and parties’ resources, and will not prejudice the prosecution. Waiting
 3 for the Delaware court to rule on the pending motions before it—before those motions
 4 are briefed here—allows the parties to address the Delaware court’s rulings and this Court
 5 to benefit from being able to consider the Delaware court’s reasoning.
 6
 7         I declare under penalty of perjury under the laws of the State of California that the
 8 foregoing is true and correct.
 9
10         Executed on February 8, 2024 at Washington, D.C.
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                        DECLARATION OF ABBE DAVID LOWELL IN SUPPORT OF DEFENDANT’S EX PARTE
                                            APPLICATION TO MODIFY PRETRIAL MOTIONS DEADLINE
                                                2                Case No. 2:23-CR-00599-MCS
Case 2:23-cr-00599-MCS Document 21-1 Filed 02/08/24 Page 4 of 8 Page ID #:152




                 EXHIBIT A
         Case 2:23-cr-00599-MCS Document 21-1 Filed 02/08/24 Page 5 of 8 Page ID #:153


Kolansky, David A.

From:                    Lowell, Abbe
Sent:                    Thursday, February 8, 2024 1:00 PM
To:                      DEH (JWPT); Hines, Derek (USAPAE); Wise, Leo (USAMD)
Cc:                      Machala, Angela M.; Man, Christopher; Kolansky, David A.
Subject:                 Re: California Issues



We will be filing our ex parte motion today.



Abbe David Lowell
Partner
Winston & Strawn LLP
1901 L Street, N.W.
Washington, DC 20036




200 Park Avenue
New York, NY 10166-4193



VCard | Email | winston.com
     m   m   m   m   V




From: DEH (JWPT)
Sent: Thursday, February 8, 2024 12:00:08 PM
To: Lowell, Abbe                           ; Hines, Derek (USAPAE)                              Wise, Leo (USAMD)

Cc: Machala, Angela M.                                 ; Man, Christopher                    ; Kolansky, David A.

Subject: RE: California Issues


Abbe,

We oppose the defendant’s requests for an extension of the motions deadline and for a stay of filing certain motions.

Derek.

Derek E. Hines
Senior Assistant Special Counsel
U.S. Department of Justice



                                                               1
         Case 2:23-cr-00599-MCS Document 21-1 Filed 02/08/24 Page 6 of 8 Page ID #:154

From: Lowell, Abbe
Sent: Wednesday, February 7, 2024 10:36 AM
To: Hines, Derek (USAPAE)                                             ; Wise, Leo (USAMD)
Cc: Machala, Angela M.                                                  ; Man, Christopher   ; Kolansky, David A.
                           ; DEH (JWPT)
Subject: [EXTERNAL] RE: California Issues

Yes –

Can you my dial in – will send an invite




Abbe David Lowell
Partner
Co-Chair, Government Investigations,
Enforcement, and Compliance
Winston & Strawn LLP
1901 L Street, N.W.
Washington, DC 20036




200 Park Avenue
New York, NY 10166-4193



VCard | Email | winston.com




From: Hines, Derek (USAPAE)
Sent: Wednesday, February 7, 2024 10:34 AM
To: Lowell, Abbe                          ; Wise, Leo (USAMD)
Cc: Machala, Angela M.                            ; Man, Christopher                         ; Kolansky, David A.
                             ; DEH (JWPT)
Subject: Re: California Issues
        ADLowe @w nston com   w se@usa doj gov   DH nes@u a doj gov




Abbe, are you available at 2:30 this afternoon? Derek.

From: Lowell, Abbe
Sent: Wednesday, February 7, 2024 10:01 AM
To: Wise, Leo (USAMD)                      Hines, Derek (USAPAE)
Cc: Machala, Angela M.                          ; Man, Christopher                                   ; Kolansky,
David A.
Subject: [EXTERNAL] RE: California Issues

                                                                               2
       Case 2:23-cr-00599-MCS Document 21-1 Filed 02/08/24 Page 7 of 8 Page ID #:155

Leo and Derek,

May we have that call today to discuss the motions and schedule for California? I have various times I could.

Abbe




Abbe David Lowell
Partner
Co-Chair, Government Investigations,
Enforcement, and Compliance
Winston & Strawn LLP
1901 L Street, N.W.
Washington, DC 20036




200 Park Avenue
New York, NY 10166-4193



VCard | Email | winston.com




From: Lowell, Abbe
Sent: Thursday, February 1, 2024 9:30 AM
To: Wise, Leo (USAMD)                          ; Hines, Derek (USAPAE)
Cc: Machala, Angela M.                               Man, Christopher                           Kolansky, David A.

Subject: California Issues

Leo and Derek,

Do you have time tomorrow or early in the week to discuss some of the issues the Judge in California raised as to
schedule, motions, etc.?

Abbe




Abbe David Lowell
Partner
Co-Chair, Government Investigations,
Enforcement, and Compliance
Winston & Strawn LLP
1901 L Street, N.W.
Washington, DC 20036

                                                            3
          Case 2:23-cr-00599-MCS Document 21-1 Filed 02/08/24 Page 8 of 8 Page ID #:156




200 Park Avenue
New York, NY 10166-4193



VCard | Email | winston.com




The contents of this message may be privileged and confidential. If this message has been received in error, please delete it without reading it. Your receipt of this
message is not intended to waive any applicable privilege. Please do not disseminate this message without the permission of the author. Any tax advice contained
in this email was not intended to be used, and cannot be used, by you (or any other taxpayer) to avoid penalties under applicable tax laws and regulations.




                                                                                  4
